
On April 9, 1998, the defendant was sentenced to a five (5) year commitment to the Department of Corrections, followed by a five (5) year commitment to the Montana State Prison, which shall be suspended.
On November 4, 1999, the defendant’s application for review of that sentence was heard by the Sentence Review Division of the Montana Supreme Court.
The defendant was present and was represented by Mark Sullivan. The state was not represented.
Before hearing the application, the defendant was advised that the Sentence Review Division has the authority not only to reduce the sentence or affirm it, but also to increase it. The defendant was further advised that there is no appeal from a decision of the Sentence Review Division. The defendant acknowledged that he understood this and stated that he wished to proceed.
Rule 17 of the Rules of the Sentence Review Division provides: “The sentence imposed by the District Court is presumed correct, and the sentence will not be reduced or increased unless it is deemed clearly inadequate or excessive.” (Section 45-18-904(3), MCA.) The Division finds that the reasons advanced for modification are insufficient to hold that the sentence imposed by the District Court is inadequate or excessive.
After careful consideration, it is the unanimous decision of the Sentence Review Division that the sentence shall be affirmed.
Done in open Court this 4th day of November, 1999.
DATED this 6th day of December, 1999.
Chairman, Hon. Richard G. Phillips, Member, Hon. Jeffrey H. Langton and Alt. Member, Hon. Robert Boyd
